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l£nuhan &. Dzmpsey, P.C.

 

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P.O.BD.‘{ZM _ r ‘ { _',Il__
Scmnxon, I’cxmylvunia 18501»0234 ' -»_ .._<
(570)346_-2097 Tclcphonc _ ".` 'j;l
>(570)346-]174Pncaimi1c .. _ ¢.__,) _(,,~,
E-mail'. rgl@lc_nn}m)dcmpsny‘com
ROSEMARY SEARLS AND ROBERT'.SE’ARLS, :v _ iN THE COURT OF COMMON PLEAS
HER HUSBAND :. ' OF LACKAWANNA QOUNTY
Plaintiffs' : _
V. : Cl\/LL ACT|ON --. [_AW

STATE FARM MUTUAL AUTOM'OB!LE Z_

INSURANCE COMPAN¥ : JURY TR$AL DE}\AANDED
One State Farm P|aza t
B[oomington¢, IL 6_'1`[10

Defenda nt ‘ __
NO. \T Q\,’ %LJ Cg

NOTI`C`E

 

YOU HAVE BEEN SUED I_N C_OURT. IF YOU '_WISH TO DEF!ZND AGA!NST THE
CI_AIMS SET FORTH |N THE FOLLOWlNG PAGES, YOU MUST TAKE ACTION VVLTH{N
TV\!ENTY (20) DAYS AFTER T_HlS COMPLAINT AN_D NOTICE _ARE SER\/ED, BY
-ENTER!NG A_ WRlTTEN APPEARANCE'PERSONALLY OR BY ATTORNEYAND F|LlNG .|N_
WRlTlNG'V\/|TH THE COURT'YOUR DEFENSES OR. OBJECTIONS TO THE CLA$MS SET
FORTH AGA|NST YOU_. YOU ARE 'WARNED THAT lF YOU FAIL_TO DO SO THE CASE
MAY PROCEED W|THOUT YOU AND A JUDGMENT MAY BE ENTERED AGA|NST YOU
BY THE COURT W(THOUT FURTHER NOTICE FOR ANY'MONEY _CLA|MED IN THE
COMPLA|NTOR FOR ANY OTHER `O_LA!M OR RELIEFREQUESTED BY THE PLA|NT{FF.
YOU MAY LOSE MONEY OR PROPERTY OR OTHER RIGHTS IMF’ORTAN`[` TO YOU.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ON_CE. lF YOU DO NOT'
HAVE A LAWYER, `GO TO OR__TELEPHONE THE OFF!CE S,_EI` FORTH BELGVV. THIS
OFFlCE CAN PROVIDE YOU WITH iNFORMATlON ABOUT H\_RING A, LAWY_ER. }F' YOU
CANNOT A_FFORD TO HIREAl I_AWYER, TH|S OFFICE MAY BE ABLE TO P'ROV!DE YO`U
W|TH lNFORMAT|ON ABOUT AGENC!ES THAT' MAY OFFER LEGAL SERVICES TO
EL|GIBLE PERSONS AT A REDUCED 'FEE OR NO FEE.

 

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Law‘yer Referral `Ssrvice North Pe`nn Lega! Services
Lackawanna Bar`Assooiation 507 L_inden Street, Suite. 300
338 N. W_ashlng'ton Ave., 3m FIOor Scranton. PA 18503.»1`63“|
scranton, ~F%A 1~850‘3 (570) 342~0184

(570) 969~9161.

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N_orth Penn Lega\`l `Servfces

-3_3 Norih' [\_/la_i`n Straet,. Suite 200
PIH`S’LQH,. PA 1864.0

('57-0) 299~4100

 

 

\,_ .
Timothy' .G. Len`aha\n', 'Esqui're

' '\,..,....-- '

 

chrz§ane, s, Leémski;;§~§qmr ~'-"

Atto_rneys for Piaintlffs

 

 

‘ (570) 346~2097 'reiq)hone

 

 

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By: Johan.,lwuhnn, Jr.,'I!_sq.Lihp'

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E~mnil:'tgl@lenahnud,cmp_sey.omr\

 

RO.SEMARY SEARLS »_AND RO',B'ERT S_'EAR[.S, l lN THE COUR`I.' DF COMl\/lON P~LEAS

§ HER HUSBAND_ 1 OF LACKAVVANNA.COUNTY

319 VV. E‘lne Street
Sha`mokln, PA
ClVlL ACT|ON - LAW

Plaintifls :.
v. :
‘ ! JURY TRl/.\L DE|W\NDED
STATE FARM `l\/lUTUA_l. AUTOMOB|L-E :' `
lNS.LJRANCE C:OMP_ANY
One S.fate Fa'rm Plaza

Bl'oomlngton. lL 61710
NO.
Defendanl'
comminin

COME.NOW,Plalntllfs, Ro'sema'ry .Searls end Rob'eri' Sezirls,. her nusb`and, byrand through 4
their attorneys, l_enahan & Dempse,y, F’.G., by John_R. Le'n'ahan_, Jr., Es_q., Ti_mothy G. Lena{han,
Esqi and Christine S. Lezinsl<i. Esq, and hereby file they following :Complaln_t againstl Defendant,
State' Farm Mutiial Automobile lnsurance Company, and aver.as follows: .

i. Plaintl`ff, Rosemary Se'arls, is an adult individual currently residing at 319 W', Pine
Street, .Shamokin, P,A i7872~.5.74_3.

2. Plalntiff,_' Robert Searls,, is an adult individual eurrently- residing at 3i9 W. Plne Street,
Shamokln, Pennsylvan_ia, '1`7872~5743. id

 

 

 

 

 

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3. At all times material nereto, Plaintttfs, `Rosemary '$eer.l_s end Robert _Searis', Were
residing together as husband and wire at 3i9 W`. Pl_ne Street, Sha_moi<in, Pennsylvenla 17872~
5743.

4. Detendant, `Sta‘te. Farm iviutua`l Au'tomobiie- insurance ’Gompany- (“Drsf`endent” or
"_Defendant,$tate Fann") is a corporation organized and existing under-the laws of Delaware, Which
at ali times material hereto maintained a principal place of business at One' S`tete.'Farrn Piaza,
B.ioomington, illinoisl 61.710, At all times material hereto,, Defendani State. Farrn did business and
regularly conducts business in Pennsylvania, includingl lackawanna County§`

THE iNsuRANcE 'PoLic.Y'

5. Pla_i`ntitfs incorporate ail of the averments of this Co_mplai_nt_ by reference as if,fully set
l _ forth herein at length

'6. F’Iaintiiis, Rosemary Sea`ris and Robert Sesrls,~ were the named insureds on a policy
of automobile insurance issued and/or underwritten by Det'endants, Stete Farm l\/lutual Automobile
insurance 'Company ("S_tate_ Falin”), poilcy~ Nuinber 630 ‘1975»/\~13¢3'8|\/1 effective 07/‘|3/1.6 to
= 07113117 (herein'att`er “ihe. Po|icy" », which Was- in fuil'toroe and effect at the time of the duly'2`2, 2016
crash discussed further below.- -A certified copy of the policy as provided by Defendants is attached
as E><hil:)|t`.A.

7. .At ali times material 'hereto, Piainiiff, Ro_semary Searis, Was an "i'nsured" under the
Po|icy, including, but not limited to, on July 22, ~Qi;JilS, the date ot the crash

8. The P_oiicy provided¢ior, inter aii'a_, full tort coverage in exchange tor'-the. insurance
premiums they paid.

.9'. The Pc)ii'c~y'had liability iimits o`f$SO',OiJD.OO per p_e_reon/$`i O0,0`UD.DG each occurrencel
and insured one vehicle

1'0.- The _F’o'iicy also provided for underinsured motorist (itereinatter “Ullvl") benefits in the
amount of $S.0,0D0.0`D,per pereon/$i-O0,000¢OO per accident

 

 

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i'i. The Poilcy also provided for medical expense-ben.etits'ot $1_0,000.00; and income loss l
benefits ot'$i,OOu.OO per'month, $5,000,-.00 maximum

i'2. Piaintiifs Werie insured with Defe'ndant State Farm for 25 years and ali premiums due

- and associated With the_Poiicy vvere paidl

13. Deiendanii State- Farm is identified on documents related to the Poiicy,ispecifioally on
the policy'oi insurance itseiii

14, Deiendant State i'~‘an`n is identified on documents related to the `beiow~refe'renoed
claims made on the Policy.-

15. Deienda`nt State= Farm supervised,. directed and controlled the activities With respect
to the handling oi' Piaintiffs’ claims

16._ Detendant»State' Farm- formulated formal and l_ntormal, written and oral guidelines and
policies ior‘handling, adjusting, and paying ciairns, including lmedica'l, Wage loss and Ull\/l claims

17. Defendant State Fa`rm employed the individuals handling and adjusting Plaintlff,
Rosemaiy Searis’-, medicai, vvageiloss and Uiivi claims.

18. Defendant State Farrn' was and/or acted as Piaintii"i's insurer,at-' ali times relevant to
Piaintiii, Rosernary Sear;ls" medical wage loss and Ullii claims

19. Detendant State Farrn is an insurance company licensed to do business vvithinl ihs
Comrnonwealth oi'Pennsylvania and,did in iact, conduct business-activities to Wit:` sellingl policies, '
adjusting ciairns. accep_ting.,p'remiums and conducting other insurance activities in Lacl<aw`anna
Ccunty. v

20-. At ali times material ~hereto, .Defendant S`tate 'Ferm acted by and through its vagents,
ostensible agentsl attorneys-servants and employees including defense counsei, acting in the
course and~scope ct their agency and/or employr`nent1 for whose conduct Dei'endant State Farm is

iiabl'e, vicariously or otherwise ’

 

 

 

 

 

 

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rare JuLv 22. 2016 cease
`Zi. Plaintiffs herein incorporate by reference ali ct the averments cf`thls C`ornp'iaint as if the
same'were set forth at'iength.
22. On_July"ZZ, '20~'16,- at approximately 8:54 a.m.,,.. Piainti_ff, Rosemary Searls,_ (hereinafter

“Plaintift’) was in her 2007 Suzui<i-SXA,, had safely brought her vehicle to a complete stop on S`R

v 54, westbound, in Ra|pho Townslilp, Nortnur'nber|and Co_unty, Pennsyivania, vvnil`e Waiting for ~a' vari-

‘ in front of her to turn iett into a private driveway, when the 2005 Chevroiet Equl`no>< operated by

C_arol Bie|s`l<i (hereln'aiter "‘t_h'e Tortfea's_cr“)', l’fcrcefuiiy and violently rear~ended ner. \As' a result cf

said collision, Piaintift, Rosem_ary Searis, sustained serious personai:inj_unes which are more fully

l` set forth hereafter.

23i Whiie at the .scene, F‘ia'ih'tifi, Rcsemary. Searis, complained cf back pain to the
responding police officer, as confirmed in the Poiic`e Repcrt.

2_4-. The aforementioned crash and resulting injuriesl damages and losses to the Plalntiff,
'.Ros,einary Searls, were caused solely and exclusively by the negligence carelessness and
j recklessness of_ the Toitieasor including-z
(a) Failed- t'o keep a proper and adequate»icoi<oui`;

(bi Falled to maintain proper control of hervehicle;

(o) Faiied to stop within the assured clear distance ah'ead;

(d) Operated her motor vehicle with no warning of approach or intended

direction;

(e_) Ope'rated her motor vehicle in such a negligent and careless-manner and with
such disregard to the rightsand safety of Plaint_lff thus endangering the life and limb
ofihe Plaintitf;

(f)_ Operated' her motor vehicle v'vithout regard for the distance of other cars

lawfully ahead and upon the .roa'dway;

 

 

 

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»~ - '\~s'sz‘r'~s“'

 

 

 

 

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(g) Fal|ed .to properly;tal<e observation of the situation then and there existing to
avoid striking the vehicles in `fr'ont` ofiher-;

iiii Faiie_d to sound any warning ortal<e other affirmative measures to make her
presence known;'

(l), 1 F`alled to stop the vehicle she was operating to avoid the collision in

question;

(i~) Failed to tai`_<e evasive acticn`t_o avoid the collision;

(i<) Feiied to pro'perly'appiy'her brakes or take other affirmative measures in a
timely manner to prevent striking the F’_laintifi’s ve`hicie;~

(l)- Falled to ‘exercise'due care end caution under the circumstances then and
there existing ln the operation of her motor vehicle;

(rn) Falled to yield the.ridht~ot»way to the vehicle then operated by 'P|aintitf;

(n) Failed to abide'b'y‘ the traffic laws ot the Commonweeith of"Pennsylvania;

(|o) Q.p_ereted her vehicle in such a. manner as to violate the statutes cf the
Commonweaith of Pennsy|vania;

(p) Failedl to maintain the proper distance between vehicles thus violatingl the
statutes cl the Commonwealth ct Pennsylvanla and any local ordinances pertaining
to and regarding the safer operation of a motor vehicle on public roadways lncludi`ng,
but not limited to 175 P\A. C_.S.~A. §3361;and,

(q) Operated her vehicle in such a manner as to violate the statutes ot the
.Co`mmonwealth ~ot Pennsy|vanla and any local ordinances pertaining to and
regardinglthe safe operation of a. motor vehicle on public roadwaysinciuding, but not
limited to 75 P.A. C._S;A. §33`6“|.

25. The "i'ortfeasor was 100% liable for the foregoing crash

 

 

 

 

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263

Piaintiif,,Rosemery Searls, was free of fault-end bears no legal liability for-the foregoing

-cresh. No conduct or failure to act on her part-in any Wey caused 'or contributed to the crash.

'27-.

recklessness of the Tortieasor which caused the aforementioned cresh, P|eint`lfi, R’osemar_y See'rls,

As e.di'rect end proximate result of the aforementioned negligence carelessness end

sustained severe-end permanent injuries including but not'.limitecl ‘to:

H)

enterolisthesis' of L-4 on.L“S and `L~S on -S~`i;~
sponclylolisthes_ie lumber region including LS-¢ir and L4-5;
neurogeni`c claudicetion~;

spondylosls at_mulliple' levels other lumbar`spine';

low back Pain;

scietlce;

lumbar redlcuiopet`hy;

bilateral extremity numbn'ess;

lower extremity psin;

lumber discogenlc changes;'_

rlght,and left lumbego;

sac_roillitls;

radiating pain in her left end right ie'g;

bilateral upper thigh palm

peresihesla/burning in her leg(s)/thigh(s)';_
exacerbation andlor aggravation of otherwise asymptometlc', `quiescent'conclitione;
vheec:leches;

nausea;

sprain/pain in neck/shoulders/upper extremitiel's;‘

difficulty waiking;

 

 

 

 

 

 

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u`)¢ difficulty sleeping;
v) tear of driving;-

w) ag'oraphobia;

~x) any and ali medical conditions Whi'ch are described in the medical records land/or

which may develop in the future as a result anne remand crash or Juiy 22, 2016-.

28. As a direct and proximate result,of the aforementioned negligenco! carelessness and
recklessness of the Tortteasor Whicn caused the aforementioned crash and Plaintit`i's
aforementioned injuries, Plalnt'rii;_ Rosem`ary Searls, was required to'u‘nc]ergo medical treatment and
` . testing including, lc.ut not limited to:

a. x~raye;

b. diagnostic studies;

.c.- physical therapy;

d. , pain -management;

e; injection therapy"ln'cluding sacroiliac'loint injections and lumbar facet inlection_s;

f. NlRl's;

c EMG testinc:

n. use ot pain and other prescription medication;

i. t4~L5 dec_ompressicn,l instrumented internal fixation and tusio_n, speclflc'ally, a L4 Gill-‘
type laminecto'my; L5 iaminectomy; L/-'i~'5 bilateral titanium pedicle screw \inst`r_ume’nted
internal iixatio'n; and l_.4~i_5 bilateral ‘p_osterolateral lntertran,sver_se process athrodesis fusion

With_ combination of mcrcellized local .autograit bone and lbone extend`er substance; and

_j. .ali other treatment and ,therapies listed in Plaintii"i's medical records Plaintifi Wili be

required to undergo':additional medical treatment and testing into the .folure.
l '29, As a direct-and proximate result of the aforementioned negligence carelessness and
recklessness of the Tortleasor W'hicii caused the aforementioned crash and F’lal'ntitf's

7

 

 

‘.-4~`»:_-_#.;§‘¢-,_.= '.:- '

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aforementioned inluries, 'Plalntiti, Rosemary Searls, has lncurr_ed, and in the-future will incur '

additional expenses for medical treatment and testing and the costs ;o'i said medical treatment and

testing which exceed the amount of beneiits due to Plaintiff, Rosemsry Searl's, pursuant to the - '
F'ennsylvsnls actor vehicle Finariclsi Re;sponsibility- tew-and Plaintitf,' Rosem'an/ Searls. hereby

` makes_a claim ior the costs of sold medical treatment and testing

30. Because. F‘Ialntiti’s health insurance at the time of the crash Was a Health

l\/lainterian_ce Organization ("‘Hl\/l.O”),_ all of the bills incurred by Plaint'rif, Rosemary-`Searls, rcr her

‘ medical treatment once her $'10,000.00 in first party medical benefits We_re exhausted1 are-fully

admissible', because 75 ‘Pa,C'.S.A. §1722.does hot apply to _l~llle’s. pursuant to the Pennsylvania
Suprem‘e Court decision in V\l.irth v. Aetna .U,S-. l~'lealthcareL 904/said 858-, 865}866 (Pa. 12006.).
- 3'1. Tc datel P`laintiff has incurred approximately $45,.000.00 inadmissible medical bills,

including $3,'990.01 that Rcsemaiy Se_arle had to pay out cf her own pocket lfor her deductible/cm

:`insura_nce payment for her lumbar surgery at 'Geisin‘g`er i\/ledlcal Genter, along with her co~

pays/deductib|es to her-various modical.pr`oviders and physical therapy

32-. As a'direct and proximate result cf the aforementioned negligence carelessness end l
recklessness of the Tort_feasor which caused the aforementioned crash and Plaintiff’s.‘ .

_ aforementioned inluries, P.laintlrf, Rosemary Searls', was rendered sicl<, -so_re, lame and disabled

and has suffered a loss of |ite’s pleasures and Wlll continue to-suffer same into the future

33. 'As a direct and proximate result'of the aforementioned nr=.\gligen,ca1 carelessness and

recklessness ot the “l“o'rtieascr which caused the aforementioned crash and Plaintiff's -
aforementioned injuries, Plaintif'i, R‘osemary Searls, has suffered physical pain, mental anguish,'

humiliaticn, emotional dis_tress,l discomfort inconvenience,'the loss cf ability to perform activities of l

daily living and the loss of the ability to enjoy the pleasures of llfe_, and may in the future continue to

suffer the same.

WM..W»..»»~~.»~.~..,.,....~....~.~,....…..., .

 

 

~'~»~1=15.~:‘

 

 

 

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34. As a direct and proximate result of the aforementioned negligence carelessness and
recklessness of the Tonfe.asor Which caused the aforementioned crash and the Pi`aintiff.’s
4 ' aforementioned iniuries, Plaihtiff, Rosemary Searis, has sustained and Wlii continue to sustain a
loss of earnings a loss of earning capacity and a shortening of- worl<~. life expectancy

35. As-a' direct and proximate result of the aforementioned negligence carelessness and

recklessness of the Tortfeasor'=Which caused the aforementioned crash and the 'Piaintiff, Rosernary

Searis, aforementloned `injuries, Pleintiff Robert Searis, as the husband cf Rosemary Searis~, has

,'bee.n deprived of the -care, society, companionship. aide, assistance comfort, contribution,
services and consortium of- hie wife, Rosemary Searis., all of Which_. have been to his great
detriment and emotional loss beginning on duly 22, ZOiB.and continuing into the future.

36. At the time of.`the crash, the Tortfeasor Was insured by ir/ierldian Seourity insurance
Company/Sta_teAuto"insurance, with liability limits of $100,00.0.00 per person

371 lOn September i'.i, 201-7, the To_rt_feaso`r’s insurance carrier offered its fuli $i'OO,GOO;OO
liability limits to settle the claims by Flaintiffs.

38. Defendant Stat'e Farm_ provided consent to settle -and' waiver of subrogation on

. September? 13, 20'*1.7, thus entitling State Farm to a credit for the Tortfeasor"s $'100,000,00 liability '

~ limine

FIRST PARTY BENEF|TS CO\IER_‘AGE

39, Pialntitis herein incorporatein reference all of'the averments of this Cornplaint as if the .

same were set forth at length

' 40. Plaintiffs paid ali premiums due and associated vvith the aforementioned policy of

insurance

41. Piaintiii's purchased automobile insurance with a first party medical and: income loss j

benefits,'to gain peace of mind that their medical expenses rand income losses'woul_d be paid in the ~

event they ._we_re injured in a c_rash.

 

 

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-_-,\.._ ..,` = ..._~;`~

 

 

 

 

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42. Pursuant to the aforementioned insurance oontract, Defendant State Farm

represented and agreed to pay income loss benenis of l$1,000,00 per mo'nth, up to the applicable _

v polioy`limits~ of five thousand dollars ($S,OOO;OU)roriwage losses in the event of.a orash.

43. It. is believed and everre'd that Detendant State Far~n`l never intended to fully provide the
§promised`r”rrst party benefits under the aforementioned policy o'i insurance to Plaihtltfs; d

44. Prior to the July 22, 2016 orash,_ Pialntirf, Rosemary~Searls, had worked .fcr 43 years at
' -l\fl & T Banl<.as a teller, ivvhere she was Wori<ing full time, 37.5 hours per weel<, at the time ot the
crash

45. On Juiy 25, 2016, Defendant State, Farm, through its 'agent-, servant, ostensible agent

and}or employee -Seap ii/ien, forwarded correspondence to 'Piaintltf,'Rosernary _Searis,. advising her

that they "have been informed you were injured in this loss." in that letter, Deiendant State Farm

advised Plaintitt, Rosemary Searle,_ that she had medical coverage under the Policy in the amount of
$l D;DDO.DD and requested she sign and return Medical Authorlzatiorrje to obtain her medical reoords.,
`However, Defendant State Far"m lfailed to_advise F’lalntii_t,_ Rosemary Searls, of the availability and/or
amount of`the income lose and/or underinsured motorist benefits available under the Poi_i_cy which
Were pertinent to..her ciaim.'

46. As a'dlrect result of ‘he'r injuries in the duly 22, 2016 orash, Plaint`rif, R`oeemary Sea`rls,
Was forced to miss time 'trom Wo‘rl< from her position aa a teller atl\/l & T Bank.

47. Plaintif`f, Rosemary S_earis, notified .De_ie'_ndant Staie F`ann that she Was unable to work

as a result of the Juiy 22, 2016 orash, and made a claim to Def,endant,. State. Farm, for inst party

income loss benetits.-
48. By cover letter dated `Se'ptember?,`/, 2016, Defendan_t, State Farm, through its "claim's

epeciaiist"’, Zach Raynsford, notified Plalntifi that she Was.n_ot eligible to oo|le‘ot'flrs't party income loss

benefits because “your Wage loss coverage does not cover the first 5 days missed" and therefore '

they'Were unable to compensate -hervfor her`time lost from 7/2271.6~7/25/'1& in~'said letter, Defendant

10

 

 

qv,.a'~. ._-_. . . .

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State Farm failed to~advis_e P|aintiif of the availability or amount of income loss banetits for future time
missed from Wor|<and/or her entitlement to underinsured motorist benefits
49. As‘a direct-result of her crash~.'relatedinluries, Plaintiff_missed several additional weeks

from work from September through the end of O`ctober' 2016.

50. 'At the time Pia`intif_f made her original inquiries with De_fendant State Faim as to the _
availability ot beneiits including wage loss, Deiendant State Farm created the raise impression that '
because she was receiving a salary continuation through sick pay and/or~shortit`erm disability benefits ._

that there would be no claim for wage loss now or ever and never advised Plaintiif as to further v

availability of wlan loss benefits should she miss additional time from wori<.as a result of the duly 22,
2016 crash.
511. Aitho`ugh she attempted to return to worl<, as of January 31, 2017, Plalntiff, ll=iosernary

Searls_, Was forced_tc retire from her position as a teller at l\ri & T Bani<.as a.dlrect result of the='=lnjuries

- suffered in the Juiy '22,4 2016 crashi ,A copy ot her letter'.of resignation confirming the same is 1

attached as `EXhibit ,B.'

52. B`ut for the duly 22,.201`6 crash, Plaint`rff, Rosernaiy Sea'ris,. would not have retired early
from her position >at l\/l '& T Banl<, and would have continued to receive Wa'ges from that employment
into the firture, such that shel suffered an actual loss of gross income She Woulci have performed
except fortna bodily inlury.

53.` As of 20.16, Plaintiff,. Rosemary Searls, was earning $'15.95 -per»hourin her position as
a teller with l\/i & T Banl<, 37.-5 hours per weeks or $.598.'13 per week/$2!392.52"p'er month, or over
$3~1,000-.00 peryear..

»54. At the time»of her forced retirement from Ni & T 'B'ari_l< on Novernber 1 i, 2016, Plaintiff,.
Rosemary Searls, then age GO‘, was still not eligible for social security bener"its', and did not become

eligible for_so'oial security benefits until she turned age 62 only December 27, 12017.

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55. Based upon the foregoing_, Plalntiff, Ros'ern'ary_ Searlsi is entitled to the $i,ODD per-t y

month income loss benefits,. for a total of.$B,O'O0.0D in income loss benefiis, under the F‘oiicyl

providing nrst party income loss benefits W`ith Defendan't StateFarm.

56. To date, Defendant has lfailed to pay any first party income loss benefits to Plai`ntiif, .

Rosemary lSearis,l and failed to perform any investigation', let alone a reasonable o'ne, as to the 4

income loss benefits

57. F`ro`m the onset of this claim, lDeiendant.St_ate'i:arrn has had a mindset of denial and ~

was seeking any basis Whatsoev_er to deny paying tha full amount .of'i°laintlfi.‘s benefits for which
Piaint`rii'had paid significant premiums l
68, Defendant State Fari.n has refused to pay first Par.ty_ lanmej-ioss benefits pursuant to
.~the terms and conditions of the policy of insurance and the `i°enns_ylvania l\/lotor V_ehiciel:inanoial
Responsibi|lty .Law.
59. Contrary tol the terms of the automobile insurance policy issued by De`iendant State
F.arm to Plainti_ff' and in violation of the law, statutes and regulations ot the Commo'nwealth of
liennsyivar`i`lal Deiendant'$tat`e Farm:-

a. Failed to pay Plaintifl`,s medical benents when due contrary to P`oiicy and the ii/lotor
Vehiole Financial Responslbillty Law and regulations;

b. Failed to promptly pay Plaintiffs' flrst'party benefits contrary to the 'Polloy and the
l\/lot`or .\`!_ehicle Financial Responslbility Law- and regulations;

c-. Failed to timely and thoroughly investigate the processing and payment of Plaintifi’s
first party benefits;

4d. ii.'iade a frivolous and/or unfounded refusal to pay Plaintiff’s medical bilis;'

a. Fai|ed to comply With the terms of the automobile insurance policy that Defendant
St_ate Farm issued to Plaintiffs With regard to payment offlrst party benefits;

f. Unnecessanly and unreasonably compelled Plaintifi to hire counsel to represent her
for her i"irst party claims;

'Q-. Unnecessaiily and unreasonably compelled Piaintitito tile suit vvith regard to payment
of herifirst._party claims;.

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h. P`laoed'fit_s financial above the interests of its lnsured;

i. Breached its limplied‘d`uty of good faith and fair deai"ing;

1‘. Committed violations of the statutes regulations and law of the Commonw_ealth of
Penns_ylvania_ with such frequency so as to. indicate a business pi',actice contrary to

401|3$_§1'1715;

k. Faiied to adopt and implement reasonable standards for the prompt investigation of

Piaintitt’s first party benefits claim, contrary 1040 P.S. §1;171.5;

‘l. Refused and/or improperly delayed jpayment-ofPlaintiffs income -lcssbenetits without

conducting .a reasonable investigation,, contrary to 40 'P.S,_ §.11_71.5;

m. l Not attempting 'in good faith to effectuate iprompt, fair and equitable settlement of

claims in which the company-s liability has become reasonably clean

n.- Com`p_elled Plaintiff' to institute llitigation to recover amounts due under the p_olicy, in

violation of 40 P.»S_~. 1_`171.5;

o, Faiied to promptly provide Plaintitf with a reasonable explanation of the basis in the
insurance policy in relation to the facts or applicable_l aw for their denial of and/or
delayed payment of Plaintiff‘s first party benefits claim, oontraryto 40 P. S. §1171.5;

p. F_ailed_ to promptly settle claims where liability had become reasonably clear under
one portion of an insurance policy in order to influence settlements under another

portion of the policy, 111 violation of 40 P. S 1171 5_;

q. Fa_ilihg_-to fully disclose to Plaintiffs pertinent benet"its, coverages or other provisions
of an insurance policy or insurance contract under which ~a' claim is presented and/or

which are pertinent to a claimi in violation Qf31_ Pa. Code 146.4;

s._ Failed to acknowledge and act promptiy upon written 01 oral communications with
respect to claims arising under its policy, in violation of 40 PS 11715 and 31

Pa. Code 146 5(a) and (c);

‘t. Falling to honor first party claims .O_ri the basis that responsibility for payment should

be assumed by others,- in violation of 31 Pa.Code 146.7(1:1)_;

u, l\/lisied Plalntlff as to the insurance coverage (medicai benefits) available and owed to

her‘und_er the aforementioned automobile insurance p_oi_ioy',

v. Falied to timeiy,~ objectively and-fairly evaluate P laintiffs first-party benefit oiaims;

w_. F.ailed tc give equal consideration to paying P|aintitf's first party benefits as to the

consideration given to not paying said benefits;

X. i\/iade intentional and/orl negligent misrepresentations concerning Pla_intiff's
entitlement and/or non'~e,ntitiement to first party benefits and the reasons for denying

payment'.cf Plaintift“s-flrstjparty‘benents;
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y. Represented that the Piaintif.i purchased 4$5,0.00`.-00 in income loss benefits, when in
fact, said promise was, in part, illusory;

'z. Charge'd a premium based upon .$5,000.00 in income loss benefits, when,_ in fact,
Defen`dant State Farm would use any excuse or rationale justified or not,jto avoid
fulfilling the-contract with the Piaintifi; '

rv:r_r' -:- =~:~

aa. Represen'ted that Plai`ntitf_ had $5,000,00 in first party income loss benefits, when in
fact, Defendant'Siate Fan‘ri, Withoutjustification, refused to pay said benefits-;_

bb, Represented that goods or services have sponsorship approval,- characteristics,
benefits, or quantities that they do not have or that a person has sponsorshlp, approvai,
status, affiliation or connection-that they dovnct have in violation of'73 P.S. l201 et seq';;

cc Represented that goods or.services are cfa particular standard, quality or grade when
they are of 'another,~in violation of 73 P.S. 201‘etse,q.

dd,. Advert_is_ed goods orr services With intent not to_ sell the.m»..as advertised _1`n violation of 73
P.S. 201 et eeq;

ee. _Failed to comply'with the terms of'.a written guarantee or warranty given to the buyer
atz prior to or after a contract forthe- purchase of goods or services in violation cf. 73
P.S. 201 et'seq; and

ff. Engaged i`n fraudulent.cr deceptive conduot, which created likelihood of confusion or of _
misunderstanding in violation ~of 73 P.S'. 201 etseq'.

60. -'Defenda'nt S'tat`e 'Farm knowlngiy, Wiilfi`iily, wantoniy, unreasonably and/cr recklessly l
refused and failed to comply and/ar violated not only the terms~and conditions of the automobile
insurance policy issued to Piai_ntiff, including but not limited to the policy’s implied covenants of _
good faith and fair dealing, but also the duties imposed upon Defend'ant State Farrn by virtue of the
statutes of the Commonwealth of Pennsylvanla including, but not limited to, 42 Pa-. C.S,A. §8371;
the Pennsylvania Unfalr insurance Practlce‘s Act, 40 P.S, § 117'1, et seq; the F’enn_syivania l.ln_fair
'_l.`.rade Practices and Consumer Protectlon .L'aw, 73' P.-S. §"201, et seq; 75 Pa.C.»S‘. §1716; and the 1
regulations of the insurance department-of the Comrnonwea_lth o_f P`ennsylvania; and/or othenrrise ` ;
violated the iid_uciary,. contractual and statutory duties that Defsndant~State i~`arm is required to 1

comply With- under Penn'sylvani`a common.law in dealing with Plaintiffs.

 

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6'|.. in violation of the policy and the laws of the Commonweaith of Pennsylvania,
Defendant Stete Farm Without legal iustiti°cation', unreasonably and unfairly denied and/cr delayed
l payment of first party,poiicy-benetits cthen/v.ise justly due.and owing, '

62. As a result of ijefendant State Farrn’s -conduct, Piaintiti`s have sustained damages
including unpaid wage losses and associated lost interest on said sums, all of Which Plaintitts are
entitled to recover.

63. As a result of` the conduct described ~above, Plaint`riis have aiso unnecessarily
incurred legal tees~, costs and lost interest othenrvise available together ,Wi_th related economic loss,

v tinanciai har'dship,l physical <_iis',comto_rtl emotional discomfort,. embarrassment and humiliation, as

well as the timel expense,, aggravation and distress of litigation end out~ot-pocl<et damages -

' associated 'With .Defendant Stete Fa_rm’.s delay and/or refusal to pay first party benefits caused by
;'D_etendant State Farm’s u'r'ivir"'arrented1 unreasonable and bad faith delay and/or denial

64, The foregoing conduct by Deren'dant State Farm evidences a reckless disregard to
-' the rights of Plaintitfsjhe_rein.

65. Plaintitfs have fully complied With ;all or the terms and conditions of the subject policy

of insurance and ali conditions precedent .and subsequent to the Piaintifis‘ right to recover under _

the policy have lbeen performed or have occurred, yet Def`end'ant State~Farm has refused, without
legal justitication or cause, and continue to refuse and/or delay the payment ot first party benefits
due and owing to Pl'aintit`f, as a result otthe \lul_y 22, 20i6' accident
UNDERINSURED ‘NlOTORiST'S, COVERAGE

'66. F'iain_tiifs herein incorporate by reference all.of'the' averments ct this Co‘mplaint' as if the
same were set forth at length.

67. Plaintirts purchased automobile insurance through Detendant State 'Fah'n'with a Uil\A
v benefits in the amount ot $50,000.00, to- gain peace of mind that they wouldl be compensatedI

without delay,.tor their losses and damages in the,event of a crash with an underinsured`i;iriver_.

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68-.

-Prlor'to-the filing of the instant .lttigatlon, Defendant Stat`e F,al'm was acuter aware

‘ that, inter alia.'

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liability for the crash was crystal clear and rested entirely .with the
Tortie_asor/Underlnsu_red Vehicle, as evidenced by the police report in State Farm"s.
possession-§ l

Plaintiti, Rose'rnary Searls .(""Plalntitf")‘s' vehicle-was rear-ended;

Plaint’rif complained o_f back pain to the police officer at the scene of the -crash, as

ccniimiedb_y the police report in ,State' Fann’s possession;

- -ljlaintiii"s husband took her from _t_he scene of the crash to thel Geislnger E,mergency
Ro'om, where she again complained ct low back pain,_ as confirmed by the G_elslngel"

`l~l'cspitai Rccords.in'S'tate Farm.’s possessionj;

P|aintlfi’s medical records in State l'-`arm"s possession established that `Plaintltf had

intractable low baci<" pain ever since the crash, including radicuiar' symptoms, Whi`ch~

caused shooting pains and other times numbness down her legs and hips, as weil as

neck pain, headaches and sleep 'ciistui_rbance‘i

Pla‘in'titt had tried all mannerot conservative treatment modalities'for her low back and
lower extremity radlcuiar pain, including prescription medications', diagnostic studies
rest, heat application physical therapy,' doctor visitsr and multiple pain killing injections,
none of which provided any reliet;

'When those treatments did not provide reliet,l Pi`ai_ntlfi underwent a lumbar fusion
surgical procedure in May .2017. Whlc`h including .Wiring and a cagetc stabilize her lower
li')acl<, which records were contained.in State Ferm's own iirs't party tile '(which vPlainti_tfs"
counsel had expressly provided permission to State Farm to review as part of the Uil\/l‘

claim);

16

 

 

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(h)

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‘Plaintltf’s' treating physician-, D_r. 'Chakraparty, verified in a written report provided to
'Defendant`. ,Stats Farm in June_. 2017 that tie had treated Nirs-. Searls for the past 15
years and that she never had any'bacl< problems priorto the J_uly 223 2016 crash, which
was confirmed by Dr. -Chal<rab'arty’s reco'rds'for the prior live (5}-'years provided to»State
Farm at- its request

Rosemary dearie swore under oath in an affidavit provided to Stat'e Fer_rn that she was

forcibly rear~.ended on duly 22, 2016 by Carol Bieiski; she reported her back injury to=t`he

investigating-police otiicer; “[p_]rior to the duly 22,'2016 collision l had no problems with my

back and l have never had any medical treatment or attention for it," as contirmed in the

June 13',_ 2017 report of her treating d'or_:t'or'1 Dr, Charkrabarty; and “l have been asked to
produce any medical records for five years before.the collision in that time frame, the only
doctor l have seen.is Dr. Ghak_rabarty. tier records confirm that l.` had no prior complaints
ct back problems in the relevant.years-'beiore the collision..” il y

Piaintirf's~treating physician., Dr. ,Chaltrabarty, veriiied in a written report provided to
State' Farm on June 14, 2017, that 'Pleintiti’s back injuries and subsequent lumbar
fusion/stabilization surgery on May 3, 2017 were causally related to the J`uly 22, 2016

crash;

Piaintih"s- medical records following the crash -- including the medical records contained 1

`in 'State Farm's own iirst'party tile (Which P_ialntiifs’ counsel shed expressly provided

permission to State. Farrn to review as part of the UiNl clai_m) »»~all consistently confirmed
that:iliaintiii's problems with her back began with the'Juiy '22', 2016 crash,-leading to her

_i\/lay 3, 2017 spinal fusion/stabilization surgery;,

Prior to the July 22, 520“|6' cra'sh, Plalntlff Was workin`g, Without .restrict`ions, in her position '

._as a teller~ior iVi &T.Bank, Which~she had held for 43 years priorto the~crash;_

(m} Piaintiti-‘~s~t`lrst party medical coverage ot $10,000.00 was exhausted as of June 2017;

’i"/'

 

 

 

 

 

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(n) Plaintirf had admissible medical expenses exceeding $45,0'00.00 as a result of the v

crash;

(o) ln addition to the substantial economic damagesl 'Plaintitf was also entitled to be
compensated for ongoing, substantial nonseconon“lic losses,. including pain and suffering
and loss of-.enjoyment of life! including the ability to perform preaccl_dent recreational
and household activities;

(p) the value of F‘lal`ntiits' claim exceeded ali available"ooverage under the Tortfeasor‘s

lpolicy ($100_,000.00), and the Ull\/l policy limits under the ~S`tais Far.m Policy ~

(seo,oon.co>'; and
(q') Plaintir_ls provided all information requested by Defend`ant State Farrn‘ during the
pendency of the 'Ull\!l claim, such that Defendant. State F'arrn has all information

necessary to fully, fairly,‘honestly and promptly evaluate P.laint'rffs' claim.

169. On"'or about \Vlay.26, 2017., Plalntlff`s’ counsel placed Defe'ndant State Farm on notice '

_ that he represented her with regard to,ser'iof.us injuries she suffered'_ in the Ju_ly'22, 4201'6` crash,

70. B'y' letter dated June 8, 2017, `Piainlifi’s counsel notitie,d Defendant State P'armr by and

through its agent, servant and employee Chiff'Cihiari, of the circumstances of the duly 22. 2016 '

crash and the Plalniltl°s ln}ur'ies, including that.‘
al Plalntiff was stopped in traffic when she was forcibly rear»en.d.ed by the Tortteasor,.
and'enoios'ed a"copy ofthe police repori;' ’
b) P_lalntiff had multiple injuries in the cra_sh, the‘worst to.h_er low"_back;
c) 'Plaintlff had-to undergo a lumbar fusion surgical procedure recently al Gelainger
l\/ledlcal C'enter` by va neurosurgeon,. who 'fuse'd. l\/irs. S"earls’ lumbar spine and

stabilized it with hardwa_re;

 

d-) Plain'tiltwas presently engaged in a lengthy course or'physicaltherapy~;
e) The Tortfeas'or`s Coverag_e with State.Auto Was only $100,000.00;

18

 

 

 

 

 

 

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t) Plaintitt's injuries had .'a value x‘iar_, tar in excess of the_primary coverage‘-‘ such that
there Was an underinsured claim underthe-Poiicy; and l
g) Plain'_titf was a tull tort claimant
7`1. ln the June S, 2017 letter, and before any request vvas ever made by Stat'e Farrn,,
t Plaint'rl‘is' counsel advised D_etendant State Farm that it had i>ermission to review Pialntiff‘s-tir'st party
' file.
72, in the Ju`ne 8,_ 20'|7 letterr Plaintitfs’ counsel advised he vvouid be seeking payment ot
the $50,000‘00 UllVl coverage limits
73. By letter dated .iune .9, -2`0~17., Deiendant State~'i-`errn, by and through its agent; servant
and empioy_ee, .Lisa Harvie, acknowledged the receipt of the JUne 8, 2017 letter “presenting an

uninsured/underinsured motorist claim under our named insureds policy',” requested proof of the

liability limits of-'all tortfeasors and proof that the appiic`abie limits have been offered;_ and requested ‘

"rnedlcal bills and reports."
74. in the June Q, 20i7 `letter, Defendant State Farm did not request Plaintiti sign any
authorizations for State Farm to obtain medical and/or Wage loss records._
75, By~lette,r dated June 14,,2017, Plaintir°is’ counsel advised Defen_dant StateFarm, by_and
throth its agent,- servant and employee Clifr Chlari, that
`a) as stated -'in his done B, 2017 letter, Plai_n'titf»'s injuries had a value farr far in excess of-
the-`Tortie_asor's coveragej;; 3
h) on June 8, 20.17' he had provided Defendant State l=arml with permission to review

Plaint'rit’s nrstpar'ty tile andw'as certain that State Farrn would have done so 'by.no_vv;

c:) Pialnt'rtl"s principal treating dootor, Dr.~ Alai'<ancle Chakrabarty, authored a written report _

dated duhe 13, 20,17`, a copy of which Was provided to State. Farm, confirming that he
had treated Plalntiiftor 15 years prior to'the duly 22, 2016 crash and she never had any
' back issues and Was never-treated by any other physician for back pain; that her back

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problems started arter the duty 22, 2016 'crash; that she was treated by pain clinic at

G_eising'er first with no improvement after Which she had back surgery on l\/layf3,52017; -

and that “Ali of Rosernaiy's back problems and the surgery She had on her low back
are directly and causally related to the `lnju`r;ies.rshe sustained in the 7/22/16 l\/iVA;” and
~ d) heohad asked State /-\uto' to'»contirm_, in writing,~ its coverage and make a tender of its

|imits.

76~. in his done "l`/i, 2014 letter, Plainti'iis’ counsel requested that

-State Fann tender its UllVl limits ot $60`,000`.00, noting that the updated report from 'Dr. Ghal<rabarty
provided more"thari adequate information to warrants te'nder.oi those 'llm.its'.

77'. By letter dated June 14, -2017, Deiendant State Fa_rm, by and through its agent, servant

and employee, Cliit Chlari. notified P|aintiiis that her first party medical coverage ($10§000.09) wider -

the Poiicy was exhausted

78. By correspondence dated June 15, 2017, Deiendant State, Farm, Lby and through its
agentl servant and employee, Llsai-larvi_e, acknowiedged` Plaintlfts' Jun'e 1.4, 2017 demand letter but
stated "we are currently~in the process of evaluating your demand Once our evaluation is complete,_

Wo writ oonroot you to discuss ooalomoni. or request additional iniormoiion."

79. in the done 15, 2017 letter, Dete_ndant .State Farm did not request P|alntitt,, Rosemary .

Searls, sign any authorizations to obtain her,medlcal and/or employment records
80, By letter dated June 1.9, 2017‘,4.P|a_intiris" counsel advised Deiend'ant, 'Statel Farm.

through its agent servant and employee Lise i~lar.vie', that:

a) Piaintirf, Rosemary 'Sear'ls, was stopped fin 'traiiio'vvhe'n_ she Was_ forcibe rear~en_ded by ,

the-Tortteasor;

b)- Mrs. Searls had moitiplo.injuiies from the crash, with the-worst being her tow b'a'cl<;l

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81»

O`rr i\`/lay 3,. 2017, `Mrs. S'earls was hospitalized at Geisinger- i\/ledical ~Center and ,
underwent a lumbar'fusion surgical procedure Wherein a team ot neurosurgeons fused
her low back and stabilized"it thh herdware;

l\firsr Sea'rs vvas presently engaged ln a lengthy course of physical therapy;j

the `l`~ortiea'sor', insured`.with Staie-Auto, only had $i.00,000,00 in liability coverage;

Nirs. Searls" injuries had a value iar, tar in excess ct the primary coverege_;

_ Mrs. Searls~ was a 'fuil tort'olaiment';

Nlrs._ Searls’ treating physicion, Dr. Chal<ra`barty, authored.a written report'dated .lunel _
;13, 2017, a copy of which was agei`n" provided to State' Farm; Dr. Chai.<rabarty ._
confirmed that he hadt`reated F’l`aintiii for 15 years prior to the July 22, 2016 crash and `

she never had.an'y back issues and was never treated by‘any other physician for back

pein; that her b'aoi< problems started after the duly 22, 2016 crash and she was ltreated
by pain clinic at Geisinger ~tirst with no improvement, after Whtc'h she Wa'e referred -tor
splne surgery and had back surgery'on i\llay 3,.201'7; and that “Ali of'Rosemary.’s back
probter'ns and the surgery she had on her low back are directly and causally releted`;toi
the injuries lshe sustained ln-f»the 7/22!16 l\/i\! .»"

ln the done 19,_ 2017 letter,; F’laintlfts‘ counsel reiterated-his demand ior'the -$50,000'.0:0

#Ull\/.l limits, noting that the updated report of Di'/ Chakrabarty provided more than adequate

, information to -‘ warrant that tender.

82.

B_y letter dated Jun'e_22, 2017, F’laintiifs" counsei provided Det'endant Sta_te Farl_n, by

and through its agent, servant and employee L'isa Harvie, a copy ot-the~State Auto.deolaration .sheet,

Contirming the~$'lOO;OO0.00 coverage applicable to the Tortieasor, and advised that`,State Au'to Wa'a

preparing to tender its-limits per his telephone conversation.with them that day.

83`

By letter dated;June 261 2017, Plaintitts’ counsel requested that Defend_ant S_tate Ferrn 4

provide a.copy of the'firstpartytile.

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84. Aiter receiving no response from Detendant St'ate Farm as to his reiterated demand for

z the tender of the '$50,000.00. Uiii/l iimite in his duhe 1-9; 2017 letter and/or the.»s`ta`tus cf€State Farm’s

so*c_aliad ilevaluation,"‘by letter dated July, 17,_ 2017 to Defendant State Farm’s agentJ servant and

employee, Lisa i-i'arvie, Plainiifis' counsel irs-submitted copies of his Ju_he B‘ 2017, June. i¢l, 2017 and

June.22, 2017 iettere; reiterated the circumstances of the rear-end crash in which she 'Was very, very

v badly hurt and underwent lumbar fusionistabliization lsurgery; and reiterated his demand for the
prompt tender of»the`$SD,OOG,OO Uil\/i limits

85. in the July'17, '201_7 letter, l-P`ia'int_iifs’ counsel also provided Det'endant:State F'arm With

the 'Geisinger Niedicai lC`enter- History and F'hysical from April 2017`; operative note from iviay 201'17;

and initial physical therapy evaluation/treahnent note dated June 1, 201'-7, all of which `coniirm that

Mrs, Searls’ symptoms all began vvith'the rear~end motor vehicle collision oi. July 22, 2016'._

86. 'Despite being provided on Jrrne 14, 2017 ~With the June 1,`3, 2017 written report from `

Plaintiifs treating doctor, Dr.' Chal_'<rabarty that he had been treatingRosemary 'S_earis for 15 years
and she ‘*neyer ever had any back issues;” “Was never treated by any other physician for her back
p'ain;” her back problems "started after the MVA oh 7/22/201.6”.-and “all of R'osemary's`back problems
and the surgery she had on her low back are directly and causally related to the injuries she
sustained in the 7/.22/16 MVA," and despite never requesting P|aintiti sign a single medical
authorization, by letter dated duly 21__, 2017, Defendaht~,State Farm, by and through"its agent', servant

and empioyee,-, Lisa Haryie, advised that it was unable'to conclude Piai.ntif_is" claim because she was

"reviewing your demand~to determine what prior medical"record_s are lr)eeded'to evaluate Rosemary’s

iniur`y."

87.. By letter dated July'27, l2017, Deiendant State Farm, by and through its agent servant

` and employee. l.i`sa Harvie, requested that Piaintitis’ counsel provide "5 years of prior medical and ,

pharmacy records for Rosemary," as well as Whether she vvo'uld. have ~an outstanding health
insurance lien and that she “wiii pend my evaluation until the above le received." Once again,

22

 

 

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Defendant Sta'te. Farm never requested Piaintiri, Rosemary Searls, execute a medical authorization

l but instead placed the onus `oi its investigation on Piaintltfst counsel to gather records on its behali.

88. Deienda_n_t State- Farm to_ this point did riot do any investigation; did not request

Plaintifi execute any medical or Wage authorizations`; did not request a recorded interview or

statement under oath of iiiaintirr_, Rosernary Searls`; and did not request any;rnedical or vocational
. evaluations.'

89. Def`endan_t$'tate Farm’s requesttorPlaintiff~Rosemary_Searis, medical records iorihe '

prior iii/a (5) years Was patently unreasonable and in reckless disregard of St`ate Farm's lack of -a

reasonable basis to deny a'nd/or~deiay P|aintit_is-’ l.llIi/I claim in light off the fact that as of il`une 144l

2017', Siate -Fann was in possession or a written report or 'Piaintiit’s treating p,hysician, Dr_._

.Charl<rabarty, who coniirmed that -P.laintiii did :not have any back pain cr treatment with Dr,

' Chakrabarty.or,any other physician in the prior 15 years and and “all~of Rcsemary"s back.'problems

and the surgery she had on her low basic are directly and causally related to the injuries she

S,l.lsi;alned in the 7/22/'16 l\/l\/ "

90. By letter dated August'.B,- 201~7, Piaintiffs" counsel advised Defendant ~State Farr"n, by

` and through its agen`t, servantand -ern'p'io.yee', luisa Harvie, that “Asi ibid you on several occasions in

the past, 'lvir`s. Searis had no"proble,ms with her back.,betore the crash. She had no medical treatment

for her basic before the duly 22-, 2016 cra_sh.” in response to.State Farmls. request that he produce 4

medical`records rorfrve (5-) years before the crash, Piaintiii's counsel provided

a) Rosemary Searls' Sworn Ariidavit indicating under oath that she was forcibly rear~

ended on duly 22, 2016 by Carol Bielskl; she reported her back injury to the '

investigating police 0iiicer_; “[p]r_ior to the-July,'22,,2016 collision l had no problems with v

my back and l have never had any medical treatment-or attention for it,-" as confirmed in
the June 1.3, 2017 reporter her treating doctor, Dr. Charl<rabarty; and "l~ have been
asked to produce any medical records;ror irve years before the collision in that time

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frame, the oniy~doctor l have seen is.Dr. Chal<rabarty. tier records confirm that l had no .

‘ .'prior complaints"of back problems in the reievant,years before the coilis'ion."
b) `Dr. Chal<rabariyl's complete chart from 2011 through 2017, which confirmed that 'li/lrs.
Searls had no complaints of back pain or treatment `tor back problems before the duly
22, 2017 crash.
91. in his August 3, 2017 letter, Plaintilis’ counsel further ,ad`\/ised,, “Now` that Stat`e. Farm
has everything you could possibly require to evaluate the underinsured motorist (U|i\/i)'.claim, kindly
. tenderthe modest policy limits of $50,00`0,0_0 at your first opportunity,"
9;2_. Despite having everything that,l:)etendant’$tate F.ann requested to evaluate the ‘ciaini,
W_hich included a sworn statement from the P|alntitf, 'Rosemary Se_arls, along with written
_ confirmation front Piaintrti's own treating physician, Dr. G~hal<rabarty,, that Piainti_ft never had any

back problems prior to the duly 221 2016 crash and that Pi'aintiff's bacl<.injuri`es, including the lumber

fusion/stabilization surgery, were directly attributable t_o the July 22, =20.16 crash_, Defendant-, State '

' Farm, embarked on.a course or conduct as part 'of a corporate philosophy t_o “deny, delay and
detond” lfirst party and/or underinsured claims, regardless of whether they had .a reasonable basis

to do sc, in order to avoid prcmpt. fair and honest adiustmentct the Uli\/li claim.-and, instead, to look

_ ior'w`ays to invent and to- create leverage to devaer an otherwise iegltimate, indefensible U|i\il '

claim

9`3. By letter dated .August ,25, 20~17, Defendant, State Farm_i by and through its agent, '

servant and empioy`ee', L;isa tlarvie, advised that they-were unable `to conclude Plalntiff’s claim v

because “we have sent the claim tile to Sumrne`rs l\/icDon'neii Hudock & Guthrie to assist in securing
prior medical records and review for a possible li\/lE for`Rosemary,” and that "[olnce the necessary
intonnatlo_n ls received, we will continue processing your clienth claim.l’

94. DefendantiState Farm‘s referral of this matter to counsel to ‘?assist in securing prior
medical records and review for a possible iii/iii for Rosema'ry” is patently unreasonable and in

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_ reckless disregard of State Farm’s lack of a reasonable basis to deny and/or delay ‘Plaih`titie' Ull\/l

‘ 'claim, ln view of the fact that State Farm was already in~ possession of a sworn statement under‘oath

ct P|_a`in_tiif~, Ros_ernary' Searle,~ along With written contirmat_ion.from Pla_int`rit’e own treating physician

Dr. Chakrabarty, that Plaintili never had -a_ny back problems prior to the duly 22,- 2016 crash and

.Piaintifi’s treating physician Dr, Chakrabarty' confirmed that Plaintiff-‘s bacl<,injurles, including the _

lumbar fusion/stabilization surgery-, were directly attributable to.the,JulyZR, 2016 crash
95`. By letter dated'Septamber 8, 2017, Plaintltis’ counsel provided Dafendan_t S_tate _Farm,

through its counsel Carn`e- l\/lcCon`nell, with a copy ot correspondence from Socretes,'on behalf of

_ Piaintitf’s health insurance plan, Geiaaner, dated »Septe'r'nber 8_, 2017‘,_; establishing that~Geisinger, as

a l-leaith l\/laintena`nce Qrganlzation (Hl\_/lO.) was exempt'f'rom the anti~eubrogation provisions cf the
Penns,ylvania l\/_lotor Vehicl,e Flnancial `Responsll:)ility Law (MVFRL"), 75 P-a.C.S.A, pursuant to the
Pennsylvania Supreme G'ourt decision of erth v'. Aetna,. and that Gei`singer.had paid medical bills
totalling $40;.170.59 torwh'ich it was asserting a.claim forsubro'gatl`on/re`imb'urs'jement.

k 9`6`. `A's of September 8,.20`1~7, De'fendant State Farm was aware that Pleintift’s.medical bills

above and beyond the '$lO,DO0.00 in'tirst party medical benefit coverage under the Policy were fully

':admlsslble and recoverable in the Ulll/l-claim-, and that at that point admissible medical expenses _

exceeded ‘$40, 0.00.,00.

97.l On September l'l, 2017, the `l"o'rlfeasor's carrle_r,' St`ate Auto, ltendered the l`I`ortleas<_)l"s

. $100,000,00 liability limits l‘[b]ased on the extent of injury and overall value of medical expenses,"'

._ thereby recognizing both the.si'gnl_ticance of Plaintlif, Roser'nary lSearl-’s injuries and the amount of

admissible medical expenses

98. By letter dated ~September 12, 2017, Plalntlffs' counsel forwarded to Defendant‘State

Far"m, by and through its counse|., Car‘n`e- lvlcCcnn'ell, a. copy ct lS`tate Auto’e letter tendering the -

4 $'l OD,OO0.00 policy limits and requested De_f_endant_Stat_e Farrn’s consent to settle

99. lnfthe Septernber'l2,2017`letter, Plaintltis'counselfurtherconr”rrmedthat: '

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on June 22, 2017, he had sent State Farm a copy of the 'Stata 'Auto dec sheet to verify

its applicable polle limits of:$’i OOiOOD`.OO;.

Sta_te_ F'ann now knew ot the tender of underlying coverage and had known for some
time of the~severity of injuries suffered by its Uilvl insured, ivlrsll Searls, in the senseless
motor'veh_lcie crash ol`dul_y 22, 2016;.

l\/|rs. Searls had reported a back injury at the scene of the crash per-the police report,
and 'nas.had nothing but terrible back problems since-duly 22, 20'16, culminating in.the

major lumbar fusion surgery at Geisinger l\iedical Center;

iVlrs. :Searis _had.e)<`h'austed her‘nrst party coverage and now has a huge lien to deal

with,, over $40,;000.00;

l‘virs.- lSearls' treating doctor continued in a done 13, 2017 report,. sent to Stale.'Farm on
June 19, §2017, as well as J'u_ne 14,, 2017, that the Juiy 22, 2016 crash caused the
injuries to i\/lrs. Searls’ low back Which lead to extensive~`treatment, medical care and
ultimately surge,ry;

`iVlrs, Searls chart made it ciear,_ in several places, that all of Mrs. Sea__rlsl lumbar
problems developed as a consequence.ot the subject col_li_sion; and

P-laintilfs had produced an Atiida\rit tromfll/lrs. S'earls dated August 2, 2017 in Wh`ich she
indicated~she had no preexisting back problems

in the Septernber 12, 2017 letter, Plaintitis’ counsel advised "V\llththls mountain of

evidence _(factual/rnedical etc.) lam wondering why'State Farn'i' is not tendering its Ull\_/l limits which

are only -$50,000.00. This is obviously coverage Mr_s. Searls purchased t`o protect herself in .

situations like this and the Ulil/l limits, after'all, are rather smalir”

‘iOi.

!

By letter dated September 13, 2017, State Farrn, by and through its agent servant

and empioyee,` jLisa Harvi'e, provided Plaintiifs with consent to settle with the-`Tortteaso'r and accept

the $100,000-.00 liability.lirnits-.

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102. By letter dated S.eptember 15, 2017, lDefen,dant Stat_e' F_ann's counsel, Carrier L,y

McOonnell, advised that.sh'e had receive the lien payout summary from the Gelsinger Health Plan
and forwarded the santoro Stat_e Farrn.l

103. Subsequent|y, `Pl`alntirfs” counsel'advised Defendant State Fan`n’s counsel, Carrier l__,

lVlcConneli, that in addition to the $4_0,000.00-lie'n being asserted by :G_eisingen Plaintiff, Rosemary l

Searis, had received a medical bill from Gei`singer in the amount cf $_4,_9_87."5'1, representing her
d deductible and coinsurance which 'Plaintitf, Rose'mary Searls, Was personally responsible to pay
under her Geisinger health care plan (which. Geisi`nger agreed to reduce~to $3,990.01 if she paid it

in a lump sum), bringing/the total admissible medical special damages for past medical expenses to
date .to approximately -$45,000.00.- w

1`04. By letter dated September 29, 2017, Dofendant_ State Farm, through its counsel!

y Carrie lvichnnell, for the first time requested that F‘laintiff'-slgn authorizations to obtain medical -

recordsl including the records of Dr, Chal<rabarty, despite thalaGi that Defend`ant Staio Farm had
_' previously requested that Piaintiffs' counsel obtain Dr. Ohakrabarty's records for the prior river (5)

§ _years'andf those~records were aiready.provided to State Farm.

105. 'By letter dated October 6, 201~7, Plaintitfs’ counsel requested that D"efe'r)d'an't-l Steto.

- Farm, though its counsei,, Carrie i\/lcConneil,. provide a certified copy of the State Far'm Pollc_y.

106,_ By small dated Octob'er.§, 2017, Garrie i\'/ch'onn.eil advised that she had requested l

_ the certified copy of the Policy burt lt may take some time as it had to be requested from
underwriting

1"07. Desplte having evidence in the form of a sworn affidavit -fr`om Pl'aintitf, Ros.emary
' Searl_s that she never had any prior baclt_prohlem's or treatment.tor backl problems; a written report

l from Pla'intiffs' treating physician D.r. Chal<'rabarty, who had treated Plaintiff for 15 years prior to the

crash and confirmed that Piaintiff never had any prior back problems or prior medical treatment for _

back problems and that the lilley-2017 lumbar fusion/stabilization surgery Was causally related to

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the July 22, 2016 crash; and despite Knowing that Piaintih' had admissible past medical bills in
excess of $40',000.00 and that all'future medical bills would be admissible Defendant State Farm
=. ignored such evidence and refused to make a settlement oiier, even though it.wa's undeniable that
the value of .Rosemary -Se`ari’s injuries far exceeded the $`~150,00`0.00 in available coverage
($'l D0,00G.‘OO Tortieaser' coverage and $`50,‘000.00~Ull\ll benefits underthe State Farm'Poilc_y).
y 108. in a. letter dated September 21, 2017, Defendant~fState Farrn’sl counsel,l Carrie
l\/icConne.`ll, advised that State Farm had issued a letter is P.iaintltis‘ counsel giving consent to settle
' With` Sta`te Auto in the amount of $100,000.00; that she had forwarded the correspondence
regarding the lien from Geis_inger l\/ledical Center and unpaid medical bills to State Farm; and that

she wanted to proceed with a lStater-nent Under Ciath of l\/lrs. Searis.

1'09, Any further investigation that D'etendant State' Farm Woul`d purport to'undertai<e now _

with respect to Piaintiiis’ underinsured claim, including obtaining medical records, a statement :

, under oath and/or obtaining defense Vccati.€)na|/econornic' expert reports, are pretextual and merely
` an etior't to ius`tify its.prior, arbitrary evaluations and thus any such investigation is not in good faith

’iiO, Deienciant State F.arrn's= suggestion that it needs a.Stat.ement Unde'r Oath` as part of

its so.~caiied “investigation” of. PlaintiiFs Ulli/l claim cruse the need for a Staternent Under Oath as a '

basis-to further delay P|aintift's Uil\fi claim is patentiy~unreasonabie ;and recklessly disregards State

Farm"s lack of 'a reasonable basis to deny and/or delay _F’iaintifis‘ Ull\/i claim, because l=’iaintiii,`

_Rqse_mary Searls, has already sworn-»- under oath -~ that she had .no prior back problems or

medical treatment before the Juiy 22,- 2018 crash and that the only physician who treated her in the

years priorto the crash was Dr. Chai<ra'bady,,who has already continued that she did not make any

y complaints of back pain or have any treatment by any physician _fo_r back pain in the 15 years
` before the crash.
-‘ii'i.v There is no good faith basis to discount lthe# medical evidence submitted by Plaintii"ts

and/or the medicaireport 'oi ,Dr,' Charkabady.

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because:

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l ‘1_2, No= reasonable lnsurer, fairly and honestly evaluating this claim, would ever require a
medical examination and any future request by S.tate Fann fcra defense lmedical examination is

; nothing more than a pretext to justify State 'Farm’s predetermined efforts to devalue this _olalrn,

tinlil<e any defense medical examiner State l?arm may hire -ior an improper purpose,
F‘laintiti's‘ treating -phy_slci_'an, Dr. Chakrabady, who has. had the benefit of iirst~h‘and-,
personal knowledge With multiple medical evaluations of Rosemary Seerls_ across 15

years, has already connrmed in his Written report that l\/irs. Se,arls did not makean'y

complaints of back pain or receive any treatment for bacl<_.paln prior to the July"'ZZ, '~

2016 crash and that her back pain and lumbar fuslcnlstablllzation surgery are '

causally related to the crash;
because Dr.' Ch"al<rabad'y was the only physician that lvirs. Searls treated vvlth in the

years leading up to the crash, and her medical 'records-, already provided to -State

Farm, confirm that Plain‘tiff, Rosernary' Searls, had no prior complaints or medical

treatment of .any' kind for back pain prior to the crash, there -Would'vbe no factual l

foundation for any defense medical examiner to opine that Mrs. Searls’ back

problems and duly 22, 20"|6 fusionlstablllzation' surgery are causally related to a pre-~

existing condition;l
any memjbn in pogf~grash medical l‘ecoi`ds to degen`ei$ilv@'l"llidln£l$ related to her low

back are of no relevance whatsoever as lt_ relates to. Plalntifl"s U[l\/_l claim, ~as. Plaintiff

never complained of-bacl<_ problems and/or pain and didl not receive any treatment for '-

bacl<_ problems or pain priorto the Juiy 22, 2016 crash;

State Farr'n_, and any defense medical examiner lt may seek to reialn, cannotl ignore
the -Weti~establ`ished principle in Penn_aylvania jurisprudence known as the "eggsheil
skull" doctrine and that aggravation cfa preexisting condition subjects a tcrtie'asor'to

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the same degree of liability as the-f infliction of an original wound The tortfeasor must z

rare ns victim ashe nndshrm. g

1'13. Thus, any purported defense _by- State .Farm, even assuming a defense medical

examination is performedl that Rosemary- Sear`l's’ condition was based upon her preexisting '

condition could not reasonably be relied upon by Defendant S,tate Farm as a basis lto- not pay the
Ull\/l claim.
1`14. Despite' having clear evidence establishing that payment of the full _$B0,0'OD,OO Ullvi

limits Was. due and owing, Defendants engaged defense counsel to further "d`elaY, defend and

- deny" Plaintift's claim, acutely aware that not only was St'ate F-arm’s unreasonable evaluation and

refusal to make a settlement offer would force .Plalntiffs to institute litigatio_n,- but it was actively
dating Plaintiffs to do so, knowing it could fall back on its vastly superior economic power to fight an
otherwise legitimate claima l

115_. The lack of 'any.settlementr offer made by Defendant Stale Fann with respect to the

underinsured claim to date'is' based upon a completely arbitrary evaluation,., without substantiation _

and bears no rationairbasis, forcing Plalntitfs to institute lltigati`on~to obtain amounts due and owing
under the Policy.

1161 Defendant State Farm's entire mind`set in the entire handlingof Plaintitfs’ UllVi claim

, has been to put its interests ahead -of its insure_ds" interest by arbitrarily discounting the claim

without-any competent evidence to do so,
ll`”`i. Defendant State Farm delayed payment of the P|alnt'lifs.’ claims, thereby~allowlng

State Farm to enjoy the time value of said iun"ds and despite the fact inst `State Farm l<new, or

' should have known,¢ that said benefits should have~been paid.

'l 18. Defendant lState 'Far_m actively looked for ways to dev'alue the clalm, without a _,

reasonable basis, contrary to its duty to fairly and honestly evaluatejtne l.oss.

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sw-¢--'WMWW,.N.~..,, . .

 

 

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119a Defenda'nt lState Farrn’s “investigation” tactics for Plaintiff's Ull\/i claim included

making serial requests for information which Was irrelevant unnecessary and/or had been

previously supplied and each time Plaintiffs‘ counsel supplied the information requested State _

Fa'rm made "a_reques_t for additional information, which was likewise irrelevant unnecessary and/or
had been previously supplied in'order t'o delay the ultimate paymen_t_of Plai'ntifis‘ Ullvi claim.

120.. lt is believed and averred that further discovery may reveal that ,State Farm has

\ implemented and/or followed an institutional and systemic policy and practice ~ whether written or

unwritten "” of "deny, delay and/or deten_d"f. a scheme to unlawfully denying claims and benefits

owed to its .insurecl's, delaying claims and payments for claims and/or defending claims through

, aggressive iitigatio,n`tacticsl designed to deny insureds fair and.reasonable settlements and reduce

payouts below fair 'value; allow State Fai'm to hold onto monies otherwise owed-for as long as

possible;_ increase St.ate Farm’s'. bottom line'c'o_rporate profits; and/or discourage other insureds or ,

their'~counse.l from pursuing claims by forcing insureds to file suit and making it expensive and time~

consuming fo_r`insured`c`to pursue their claims.

'i;2.1. Stat_e Farrn’s institutional practices are evident through ~their"conduct.and how claims "

representatives are taught to handle claims, by creating delay tactics and a series of unnecessaryy
' irrelevant and/or'duplicative requests for information and/or further i_nvestigat_io_n, designed to delay
y the ultimate payment of the claim and increase the time, expense and cost to its insureds
122. Upo,n information and belief, further discovery may reveal that State Far`m has
restructured its ofnces and created "teams” to save money, such-that there are multiple offices
handling the same tile ,and. claims representatives have too many claims files to appropriately
address and properly evaluate all of them
t23. Detendant_St'ata' Far.m'~has iiduciary, -con'tractual`i. common law and/or statutory duties
towards the Plaintiffs to handle their ciai"ms~in good falth, fair dealing and with due care inl order to
arrive at a. pron'lpt, fair and equitable settlement of the claims

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1-24. Defendant State F-arm owed a non»delegabie duty of good faith and fair dealing to

`Plaintifis and held a tiducia"ry capacity to treat them fairly and hon‘es_`tiy fin ali ot their dealings with
them.

125,. Defendant'Sta`te Farm had the right to handle Plaintitte‘ claims-and control'eettlement.

t26. At all times material hereto, Defendaht `State Farm:rnallcio'ualy, intentionally and l

consistently put ita interests and objectives overthe` interests of Plaintiffe, alito the 'Plaintitfs? great
detriment:and loas.
127. Deiendant State F`a'rm. violated ita etat'utory, common law and/or contractual duty ct

good faith and.ta'ir dealing to pay Flaintitf`s’ claims as described above

'12& Defendant State F'arm Wa's obliged to and had undertaken the responsibility for

making a reasonable and fair evaluation of Piaint'rh‘e' claims in good faith and fair dealing and
breached this duty`by failing to make a= reasonable timely and/or tair|;evaiuatioh ot Plai`niitf'e? claime.
129, D`efendant Stat'e Farm had a duty to give Pleintlfl"s’ lln`tereate, at a bare minimum, the
v . same faithful consideration that it gave its,ov`vn inte'reete.
1'30. A't all times material heretc, Detendant'State Farrn maliciously, intentionally and in
bad teith, put its own interests tar above the interests of i'°lalntitiav
1'31. ‘Defendant Sta_te Farm focused upon-its own economic considerations to limit or delay
payment on Piaintiiie’ claims causing damages to Plalntitfs,, as discussed herein‘, inter alia, by
delaying and failing to pay Piaintltfs’ ciaima sand by subjecting Plain'tif_fa to unnecessary expenaee.
132, ln violation of the policy and the `lawe ot the Commonwealth. of Pennsyl.vania,.
Detendent State`I~T'arm, without legal_juetitlcation_, unreasonably and unfairly denied and/or delayed
payment ct benehte otherwise justly due and .owlng,_ allowing Statel Farm an "inte'reat free loan” on
' benefits to which Plaintiife Were lawfully entitled..
.'13& The conduct ot"Detendant` State Ferm ,incl`u_d`ee, but is not'iimited to:

(a)~ F.ailing to fully», fairly and adequater evaluate the F’ialntliis’ clelms;
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M. ~,..__ _ .¢~ ....~.»..-`_.. .._._.,. ._... , -~ ~.N~......_..,` ., _..,__.. ,, __.`,»_ .

 

 

 

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ignoring any advice and/or recommendations that did not 'tit¢State Farme’
arbitrary‘,. predetermined decision to deva'lue legitimate claims at any cost "o_r
what State Farm would pay for Plaintitfs’ claims;

Failing to respond to Plalntitfs-’ repeated demands that -St'ate Fa.rm tender the

policy limits with respect to the Plaintitfs_" claims;

Failing to conduct a full, fai`r, timely and proper investigation to become -

properly informed ot the `Plai‘ntitfs’ olalms;'

Failing to attempt in good faith to effectuate 1a tairand equitable settlement

Breac_hing their duty to negotiate in good faith through motives ot self»interest,,

Defendan_ts.’ own economic-considerations on|y, and ill-will towards F"la_int’rtis; '

Not attempting in good faith to effectuate the prompt, fair and equitable

settlement of- P~ialnt_iifs’ claims Wh'ere the Detend_'ants’ duty to do so is

reasonably olear_;
F-ai|lng to prompt|y, objectively and faier S.\./Ellua`te the _Plaihtltls".clalms;
Dilatory and-abusive claims hendllng;

,Knowin_g and/or recklessly disregarding the lack cta reasonable basis in failing
to pay the 'Pialntlfis'~' ciaims; '

`Fa`iling to give equal consideration to paying the iPlaintitis’ claims;

_Faillng to give equal consideration to paying the Plaintiffs' claims promptly as
to.'not' paying the oi`aim.'promptly;

Failing to timely investigate evaluate and p'ay*t_he Pla'lntlits’ claims;_

Failing to provide any justification or basis for its failure to tender the full policy
limits tor Plaintifts’ claims;~ t

Failing"'to promptly and/or properly advise Plainti,ft.of the acceptance or denials
of the Plai`ntitis’ ciaims;

Conducting an 'untair, unreasonable and untimely investigation of Piaintlifs.’
claims;

F.aiiing to follow their own guidelines and procedures and/or abandoning its

written guidelines and procedures to avoid scrutiny and auditing in bad taith "

_lltlgatio.n;

1/r\s;uming_ a lfiduciary obligation and then failing to carry out'the same in good
ait' `

Unreasonably and unfairly withholding policy benefits_`justly due and owing to '

tile alarntitfs;

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‘ Case 4:17-cv-02259-I\/|E|\/| Document 1-1 Filed 12/Q8/17 Page 36_0f48

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Bre_ac'h`ing the duties of good faith and fair dealing;
Placing their'interests .overthe. interest of their ineureds;
ignored the opinions of Pl_aintiff's treating physicians regarding the causal ._
relationship o_f P`laintift’s injuries to the July 22 201__6 crash and lack of pre-
existing back lssue‘s or treatrnent;

F`ailing to honestly,ifairiy,`inte'ili_gentiy and objectively evaluate the Defe`ndants‘
exposure-with respect to the Plaintitis" ,claims;

Faiiing to accurately assess the strengths or weaknesses of the evidence as a
Wthe;

ignoring repeated demands for policy limits by,Plaintil'ts with respect t_o the
Plaintitfs" claims;

Refuslng to make reasonable (_or any) settlement offers;
lgnoring.the clear liability and significant damages suttered by Pia'intiiis;

Un_reasonably and vexatiously delaying payment of benefits for Pialnti_tfs’ "
claims when it was clear that immediate payment ct benefits under the Poii cy
was justified and warranted;

Failing and/or refusing to pay the Plai_n_titfs‘ claims without a reasonable
foundation to do so;

Failing to acknowledge or act promptly upon written communications with
respect to the Piaintitf.s claims under the F'olicy;

Falling to adopt and implement standards to promptly investigate and pay
claims arising out ot Plaintiffs automobile insurance contract;

Failing to attempt in good faith to effectuate a prompt1 fair and equitable
settlement _of the Pl`alntitls’ ciaims;

Failing to exercise the utmost good faith 1n discharging their statutory, common '
law and contractual duties to the Plalntiffs;

Enga_ging in unfair claims settlement and insurance practices in violation ot
common law and/or Defendants’ statutory obligations;

Piacing Plaintlifs in a position of extreme physical and emotional hardship;

Obta_i_ning an “interest free i'oan" by depriving Pla'intiffs ot benetits to which they
Were lawfully entitied;

F_}ailing to consider the range of awards/verdicts Wlt_h respect to the F’|eiitfsnt
oaims

P`urportedly disputing causation of P'laintiffs’ injuries and damages in the Llli\/l
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laspect ot the olairn,. despite previously acknowledging the causal relationship

of those same injuries in the first_par.ty medical claim;

l\/lai_<ing, publishing, lssuing or circulating statements Which misrepresent the
beneiits,' advantages conditions or terms o'f. an insurance policy in violation of
40 P.S. 1171 .S(a);

l\/l_al<ing, publishing_, issuing or' circulating statements which contain
representations ;or statements with respect to the business of insurance or
State Farrn’s conduct in the:l`nsurance business which are untrue, deceptive or
misleading in violation o_f' 40 P».S.. 1'171;5(_a);

l\/ilsreprosentlng pertinent facts or policy or contract provisions relating to
coverages at issue in. violation of~40 P.S;. 11_71,.5,(a)(10);

Failing t`o acknowledge and act4-promptly upon vvr`iii@.n, or oral communications
with respect to claims arising under_'insur'ance policies in violation of 40 P._S.
'1'171._5(a)('l O_.),and 31 Pa, Oode 146.5-; ' ’

Failing to adopt .an`d implement reasonable standards for the prompt
investigation o_f claims arising under insurance §pollcles in violation of 40 P¢S.

11'71.5(@) (io>;;

Refusing to pay claims Without conducting a reasonable investigation based
upon all available information in violation ot 40 P.S. 1171 .5(a)`(10);

-Fail_ing to affirm or deny coverage of claims Within aj reasonable time after the

claim was submitted by Plaintifi and communicated to the company or its
representative in violation of 40 P,.S, 1171.5(a)(_10);

Not attempting in good faith to effectuate a_ prompt', fair and equitable
settlement of claims in Whlch the 'company"s_ liability under the policy has

become reasonably clear in violation of 40 P.S, 1171.5(_a)(~10);

Cornpe|l_in'g Plaln`ti_ffs to institute litigation to recover amounts due under .an

insurancefpoli.oy in violation of 40 P.S. 1171.5(a)(10);

l}L\ttemptlng to settle a claim for less than the amount`to which a reasonable
man would nave believedl he was entitled by reference to written or printed .

advertising mate'_rial_accornpanylngi orlmado part of an application in violation of
40 P.S.1171.__l5(a)(10);

Failing to promptly settle claims, where liability has become reasonab'ly'clear,
under one portion of the insurance policy in order to influence settlements

under other portions of the insurance policy or 'under other policies of

insurance in violation of 40 P.S'. 1171.5(a)(10);
Faillng to promptly- provide a reasonable explanation of the -`basis in the

insurance policyl in relation to the facts or'appiicable'lawfor denial ot a claim or
for the offer of a-,compromise settlement ln'l violation of 40 'P.S.'1171,5(a)(10);

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134. As a result of Defendant` Stat_el Fann’s. conduct, P'lair~ntiffsv have sustained damages j

'Failin_g to maintain a fuil, complete and accurate claim file as required by

Pennsylvanla law specifically 31 Pa Oode' 146 3;

Falling to fully disclose to Plaint'rifs pertinent benetits, coverages or other
provisions of an insurance policy or insurance contract under which a claim is -

presented and/or which are pertinent to a claim, in violation of 31 Pa Code
146. 4;

Falling to timely complete its investigation and keep P*laintlfis apprised of the
status of its investigation, in violation of 31 Pa. Code 146 6 and 146. 7;

Failing to complete its investigation in 30 days in violation of 31 P`a. Code
146 6;

Falling to comply with the standards for prompt fair and equitable settlements
in violatlo`n of 31 P'a_. Code146 7;

Causing likelihood of confusion or _of misunderstanding as to the source
-_sponsorship, approval or certification of goods or services in violation of 73
P. S 201 etseq; .

Causing likelihood of confusion or of misunderstanding as to atfiliation,
connection or association with, or certification by, another in violation of 73
F’. 8 201 et seq;

Representing that goods or services have ~sp'onsorship, approval,
characteristics, benefits, or quantities that they "do not have or that a person
has sponsorship approvai, status, affiliation or connection that they do not
have in violation of`73 F’,S. 201 et.-se,q;

Failing to comply with the terms of a written guarantee or warranty given to the 4

buyer at, prior to or after a contract for the purchase of goods or services in
violation of 73 P.S. 201 et sed; and

Engaging in fraudulent or deceptive conduct which created a likelihood of '_

confusion or of misunderstanding in'v`iolation 0173 P.S, 201 et seq.-

including underinsured benefits landassociatedlost interest on said.sums, all of which Plaintif_is are

entitled to recover.

1435. As a result of the conduct described above, Plaintiffs have also unnecessarily

incurred legal fees, costs.and lost-interest otherwise available, together with related economic loss,

physical discomfort, emotional distress and humiliation, sewell as-. the time, expense-, aggravation

and~dl`stress of litigation and out~of~pocl<et damages associated with Defendant~ State- F'arm's delay

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l and/or refusal to pay benelits end denial and/or delay in the processing and payment of Pla'intitfs‘
ciaims, caused by Deiendant State.l.-'arrn"s unwarranted unreasonable andbad.faith delay.

136. `ihe conduct ot Defendant _State Farm was wanton, recklessl malicious.and- ln bad'iaith.

137. The foregoing conduct by Defendant State Fann evidences a reckless disregard to
me none or~Pralntrr‘rs herein `

138. Plaintirfs have fully compiled with all of the terms and-conditions of the subject policy

of insurance'and ali conditions precedent and subsequent to the Plalntiris? right to recover under ~

4` the policy have been performed or have occurred, yet Defendant"State Fa'rm_ has refused, without
legal justification cr cause, and continues to refuse and_ior' delay the payment oi'benetits due and
owing to Plalntiiis as a result cf the J'uiy'22; 2016 crash._.
Q.Q_lldl_l-'
BREACH OF CONTRACT ~,:~ FlRST _PAR-TY WAGE LtJSS .BENEF|TS'
PL'AlNTlFF ROSENIARY_ SEARLS l
y;s".

-sTATE FARMMUTUAL AuToMoBiLE insure/ince comPAN~Y

13a spinan incorporate 311-of the averments or this complaint by rereronoe as.ii rely-sol
f forth herein

v 1411 P.ursuant to the terms of the _Policy, Defendant-State Farrn was obliged to provide lirst
party income loss ben'eiits 01$1,000.00 per month, up to $5,060.00. l

' `1'4'1. Pursuant to'the terms of‘the foregoing automobile insurance 'policy, Dei‘endant -State

Farm was obliged to provide first party benefits .to P.laintitf in accordance with the provisions of-t_he '

Pennsylvanla lviotor’Vehicle;Flnanciai Responsibillty Law, 75 Pa. C.S.A. §1701, et.seq.
142._ Deiendan`t State Farm has failed to pay Pialntlfi any amount ing first party“income loss

' benetits under the'Pcllc'y.

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143; Defendarit State `Farm’s<failuna to pay Frrst party Wage benetit`s constitutes a material
breach of contract

144. As an expressed or'implied_ term within this agreerr'rentl Defe`n'dant State Ferm, was
required to exercise the utmost good faith and fair dealing in their handling of .P|aintltfe‘ claims

under this insurance contract

145. -Deten'dant State i-`arm, in the performance ot,sald contract owed P.laintiffs a fiduciary

duty to'act_'in good faith and to use due care in the processing o_f"Plaintltfs' claim
i46‘. Detandent State Farrh did not use or exercise good taith, fair dealing or due care with
.' regard to Plaln'tifi'e claim`
1471 Deiendant S_tate; _Farm failed to properly or fairly evaluate Pialntitie’ claim$l in breach
of the foregoing 'contra_ct'. l
"i48». By‘taill`ng to pay the Plaintiffs‘ claims as described above in a timely manner and
_ denying the Plalntlrie‘ claime, _Defendant .S_tate Farm_ breached lie contractual obligatic:»nel to

Plaintiti‘e under the pol`icy.

1'4`9_. Aa-a 'result, the Plaintitt`s have been required to retain the eervicee ot.an attorney to _

collect benefits due and owi'ng.

1503 The failure of Defendant State Farm to abide by their contract~caused `P|aintiffs to
incur expenses, suffer unnecessary delay and vh_ar<:lship, and otherwise sustain damages as further
outlined herein that »Woul_d have been avoided if Def_endant `State Farrn had properly and

' reaconably'ho'nored and complied.vvlth_ their statutory.and contractual oblig'atione.

154. Defendant State Farm'a. failure to exercise good faith and fair dealing Wi'th regard to
this matter constituted a materiali breach of contract

152, The foregoing conduot'by Defendant 'Stat.e Farmiconetitutes a breach ot the contract

' of insurance with the Piaintiire by lfailing to honor the applicable coverage under the policy as

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lrequired under Pennsylvania statutes and_appllcabie case law and denying P,laintiifs‘ claims
submitted under-the policy, as described at length above'.
'1'53. The foregoing conduct by Deie'ndant State= Farin also constitutes a breach of the
policy"$ implied covenant-of good faith and fair dealing
v i5'4'. Plaintiiis have'satis_fied all ot`tneir obligations underthis' 4policy-,._ including bui.'not'limited
to all conditions precedent and all conditions subsequent required in the process 'of' his llirst party
benefit claim involving income loss c"overag‘er

'1‘55, By their actions described herein, Detendant State Farm. has undertaken a course of

action which has been.des`igned`to unilaterally and without,justitication delay and refuse income`loss `

benefits so as to force Pialntiffs l'n_ exposition of extreme financial herdship, in contradiction of the

terms of"the lnsurance.contract, the Pennsylva_nla l\/iotor Vehlcle Firianclal Responsihillty Law and '

'. the case law ot the Commonweaith oi~'l°ennsylvania.
'156. The breach of contract by Deiendant State ‘Far`r_n was of` such a kind that serious
emotional disturbance was a particularly likely result

157, As a result et the Defendant .State Farm"s breach of their duty under the'forego_ing

automobile insurance policy and Pen'nsy_lvania law, P|aintiif=has suffered actual and consequential l

4 damages
158-a Defendant State. Farm's material breach or contract resulted in consequential
damagesto Plalntiri, R'osernar.y~Searls, including the timer expense aggravation and distress of

iitigation,- vattorneys." fees, cosis, unnecessary delay and `hardship, lost interest in proceeds and

other damages caused by Detendant~ State Farm‘s unwarrantedl unreasonable and/or bad faith -

delay and caused P'laintifis to otherwise sustain damages as further outlined herein that would
have been avoided lt Defendan'i. State Farrn had properly and reasonably honored end complied

with its contractual -and/or.statuto'ry obligations

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l WHEREFORE, i°laintiff, Rosemary Searls,- respectfully requests lthis H'onorable Court to enter
' judgment in her favor against Deiendant, Sta_te -Farm iviutual A'utomobile lnsurance*Com'_pany, for
l damages in excess of $50,000¢00 together with lnterest, costs~, and such other relief as is deemed
necessary and propsr.
COUNT il
_BR'EACH 'oF s'oNTRAcT _. uiiiri ,sENEFiTs.
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y§
sTArs FARM muTuAL.Au,.'romosri.iains'usi\uce'comPAnY'

1~59. Plaintiiis hereby incorporate by reference all or the paragraphs of this Corn`piaint as ii
same.were set forth at length herein l

iGO. Pursuant to the terms-of the foregoing automobile insi-irancel poiicy, Detend'ant State
Farrn Wa_s obliged to..'proyide l.'llNl be'nehts' With respect to the duly 22,. ilO.“id crashi

iGt-. 'l`liel Lili\/i iimits`uridcr_the ,Poil'cy'are $50,000.00 per.person.

'»1‘62. As described aboys, Plai_ntiffs" counsel made repeated demands for payment of the
Ull\/l policy limits with respect to Plaintiiis’ claims as a result of the-duly 22, 2046 crash

163; Deiendant_ State Farrn's failure to pay Uli\/i` benefits as a~ result of Plainbtfs’ claims

constitutes a material breach or contract

164. As an expressed or implied term within this agreement Dei'endan't_etate Fann was l

required to exercise the utmost good faith and fair dealing in its handling-l of Piaintitis' claim under
this insurance contract ‘

'165. in the performance cr said contract1 Deiend_ant Stat'e Farrn. owed P.laintiffs a fiduciary
dutth act-in good faith and to use due care-in the processing of Pl'aintift`s' ciai'rn.

~’i 66. 'Defeii.d€lr_tt State Farrn did not use or exercise good ialth, fair dealing or due-care with

regard to Plaintiffs" claim.
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167, Deren_dant State Parrn failed tc properly cr fairly evaluate Pl_aintiiis’ claim in breach or '

the foregoing contract.

168. The foregoing conduct by Det'endant~ State Farm constitutes a material breach or the

. contract of insurance with i°|a`intifter by tailan to honor the applicable coverage under the policy-as _

_.requ_ired under P'ennsylvania,.statutes- and applicable case law and denying and/cr delaying
Plalntiiis'- claim submitted under the policy,'a's described atle’ngth.ab'oye.
169. The.toregcing conduct by Defendant State Farrn also constitutes a breach ct the
‘ po_licy'e implied covenant of"go'od faith and falr:de.§ling end a material breach-of contract l
170. The breach of contract by Deiendant State Far'rn wa_§s ot` such a kind that Serious

emotional disturbancewas a particularly likely result

i7'i. As a result of'Defenda_nt_ "State Fa'r'm'-s material breach of its '_duties under the foregoing '

automobile insurance policy .and Fennsylvania law described above._' Plal'ntiiis- have suffered actual
land consequential damages
1_72. Defendant State Farm's material breach ot contract resulted ln consequential

damages to F‘la`intiiie, including the time, expense, aggravation and distress of 'lltlgation, attorney

fees, costs, unnecessary delay and hardship_, lost interest in proceeds and other damages caused -

by-Det`endant State Farm’s un'\lyarrar-itedl unreasonable and/or bad faith delay and otherwise

sustained damages as further outlined herein that chld' have been avoided if Defendant State

_: i?arm had properly and reasonably honored and complied W_ith its contractual and/cr statutory

obligations

WHEREFORE, Plaintirf, Rosernary Searls, respectfully requests this Honc'rable C.ourt to enter

judgment in her favor against Deiendant, State Farrn lV`lurUal.AutOlmobile insurance Company for t

damages in excess ct $50,00,0".'00 together with interest costs, and euch other relief as is deemed

necessary and»proper.,

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S'l`-'ATE FARNT MUTUAL AUTOMOBILE lNSURANCE COMPANY_.

173. All of~the paragraphs of this C'omp_ia_int are.incorporated herein by reference as iffully- `,

set forth at iength..

i74; -As a direct and proximate result either aforementioned negligence of‘the Toitfeas'or

- which caused the aforementioned crash and Plai`ntifr' Rosemary Searis’ multiple injuries Plaintirl

‘ Rofbe'rt .Searls_ has been deprived of»the soci'e`ty. ‘cere, aid, .c'omfort~, convenience_, services, 4

contribution companionship, society.and consortium or his wlfel Pleintiir Rosemary Searls, alito his

§ great financial loss and detriment

175. Plai'ntiff, Robe'rt Searls, hereby makes claim for all damages available to him pursuant
to the aforementioned contract issued by the Defend`ant- State :Farrn for loss of consortium
damages

'i7"6. Defendent Stat`e Ferm’s failure ic pay the i.lli\/l benefits underthe policy constitutes a

_ z breach cr contract

177`. Defendant State F'arm's failure to exercise good faith and fair-dealing With regard to
Plalntiffj Robert Searls" loss cf consortium claims as described above constituted a breach .cf_ the

po'iicy's-implied covenant ct good faith and fair dealing and a material breach of contract

178, As a result of the De.fendant State- _F‘arm`.’s breach of its duties under the foregoing v

automobile insurance policy land Pennsylvania law described above, F’l`aintiit, Robert-Searis. has
suffered actual and consequential-damages
1~79. Defendant Stat`e: Ferm’s material breach.of. contract resulted in P.|aintiif; Robert Sear`ls‘

consequential damages. including ~.emotional distress.; the time, expense, aggravation and distress
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~of ‘litig`ation, attorneys' 'tees!_ oosts_, unnecessary delay and hardship as well as lost interest in -;
_ proceeds caused by Detendant‘s unwarranted unreasonable and/or bad faith delay and caused
Plaint'rit, Robert Seans, to otherwise sustain damages as further outlined herein thatiwould have ,

, been avoided lt~Deiendant-had properly and reasonably honored and complied with ita contractual

and/or statutory obligations

WHEREFORE, Plaintiii, Robcrt Sea`r'ls, respectfully requests :t_his l~lonorab|e Oourt to enter

. judgment against the Defend'ant, `State Farm ivlutuel Autornobiie insurance Company, in excess of

$50,000.00, together with interestz costs and such other relies this court deems just and
appropriate ` l
coui\iriv .
san sane ~ 42 Pa. o.-s.A,,sssrtr
E_i:_AlNTlFFS V, `STATE FARN| MUTUAL AUT'OMOBILE INS:URANCE CONlPANY

itiOi P|aintlfis hereby incorporate'by reierence ali ot the paragraphs ct this Cornpiaint as ii

same were set'ior'th at length herein.

iBi.. On or about February 7, 1990, the Gove`rn‘,or' of Pennsyiv_ania- signed into'iaw 42 P..S` '

§837;1, effective duly ’l, 1990, entitled “Acti'cns on insurance 'Poilcies" which provides a private cause

of action lfor bad faith..against. insurance ccmpanies~»as~ foilo_ws:
in an action arising under en insurance pciic'y,- ii the C'ourt finds that an
insurer has acted in bad faith toward the insured, the Oourt may take all
the following actions:
i. Award; interest on'the amount of the claims When the
basic claim was made by the insured in ~an amount equal
to the prime rate of intere_st._pius -3%;
2. Avvard punitive damages against the insurer;
Bt Assess costs and attorney fees against the insurer.
182, By'.vi_rtue of the foregoing conduct outlined at length .above, Defendant State Fa'rrn

knew or should have known it lacked reasonable basis to fail to pay 'Plolntiits’- benefits as a result of
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the claim by Plaintitis and persisted in _a course of conduct designed to deny and/or delay Pia_intifia’
entitlement to said benstits. As a resuit,ot Def_endant State Farrri's bad faith conduct and actions,
Plaintltfs are entitled to recover interest o_n unpaid and/or delayed benat_its; punitive damages.against
Detendant _State Far_m; and reasonable counsel fees and costs incurred by P|aint_iffs in prosecuting
this action.
WHE_REFGRE, Plaintltis respectfully request this Honorahle' Court to enter judgment in their
favor against Detendant State Fa'nn l\/lut'ual Automobil_e insurance Coinparty for damages in excess
. of. $50,00`0.00 together vvith lnteres`t, costs-, attorn,ey'tees,, punitive dainag'es and such other relief as
. is deemed necessary and proper z
COUNT V'
' vicAR;ous l;lnsiurv
'ELAINTiFFS v. STATE F'ARilil ililUTUAL AUTOMOBILE' lN§URANCE COMPANY
183. .Pl`alntit_f incorporates each and every allegation of this jC,or‘npia'int' as if same Were set
1 tenn at length-herein
18‘4. At ali times mentioned~hor'eih, Defe'ndant lE`>tate.Farrn acted by-'.and?through its actual or
. apparent authorized agonts, attorneys seivan'ts, workmen, employees and/or ostensible agents
including lnsuranceagen'ts, adjusters'and-supervlsors, including defense counsel Deiendant State
Farm is therefore vicariously liable for the negligence carelessness recklessness and/or intentional
conduct ot these ‘agents, attorneysl serv`ants, Worl<`men_, employees and/or ostensible agents th, at
all times, vvere furthering the interest of 'Detendant-State Farm and 'Wore acting within the scope of
l their actual employment}age'ncyor ostensible agency With~Detendant State Farm.
185. Al`tern.atively,,_ at all times relevant herein, Defenda'nt Sta'te Farr.n authorized
acquiesced and otherwise ratihed the conduct and activities of its agents, attorneys employeesy
servants and/or ostensible agents including insurance adjusters and supervisors and defense

counsel in that they never sought to change, alter or amend their handlingl ot the claims.

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Accordin'giy, Def`endant St'at'e Farm' did therefore accept and retaln.the benefits of the wrongful and

'~tort_io'us conduct and acts o,t~'its agents Deiendan't Stat_e Fann‘ is, ‘therefo_re~, vicariously liable for-'
*'»Q\g., m

said conduct

1'86. A_s-a ccnsequehce~otthe~tcregoing, Plaintitts ~Were caused to sustain damages as.more

fully described herein above..

Wi-iE-REFORE, Plaintltis respectfully request this Honorabie Court to enter judgment in their
iavo'r- against Deten"dant, l-State ‘Ferrn. i\/lutual_ Automobiie insurance Co'mpany1 for damages in excess

' of $50,000.00 together Wlth interest,'costs, attorneys fees, punitive damages and such other reile`i'as_ ~

pie deemed_necessary and prcper.

Respectful[y.siibnritted,

tamari/tugs deupsev, P.c.

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Attorhe'ys for P|aintitis

 

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We-, Roser`nary Sea,r`le and lRobert Searls', hereby verify that the foregoing Cornp_leint isl
based on information furnished to oo'unsel. Whlch information has j`heen gathered by counsel in
the course of this la_wsuit; that the language ot the Compiaint is that ot counsel and not et signer,

that the Compieint~, subject to inadvertent or undiscovered errors,;i`s based upon end therefore

limited by the records and information still in existence, presently recoll_ected and thus far ,

discovered in the preparation of-thls Cornp,lain`tgand the defense of this oaee;,t_o theexte`nt that the-

centents ot the pleadings are that of counsel, the unders`lgnedj:have, relied upon counsel in '

making this verification; that subject to the limitations set forth lhereln, the averments ot the

Complelnt, are true and correct `to the best of our l<nowie'dge,: information and belief We

understand that.talse statements herein are made-eubi_ect'to the penalties ott-8 Pa. C,'S.`, Sectlcn.

4904, relating to unsworn falsification to authorities

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